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             EXHIBIT A
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                   15   Counsel for Defendant Meta Platforms, Inc.
                   16                              UNITED STATES DISTRICT COURT
                   17                           NORTHERN DISTRICT OF CALIFORNIA
                   18                                      SAN FRANCISCO DIVISION
                   19   RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC
                   20   Individual and Representative
                                                                       DEFENDANT META PLATFORMS, INC.’S
                   21                        Plaintiffs,               OBJECTIONS AND RESPONSES TO
                                                                       PLAINTIFFS’ FIRST SET OF REQUESTS FOR
                   22          v.                                      ADMISSIONS
                   23   META PLATFORMS, INC., a Delaware
                        corporation;
                   24
                                             Defendant.
                   25

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COOLEY LLP
ATTORNEYS AT LAW                                                                           META’S OBJ & RESPS TO
                                                                                         PLTF’S FIRST SET OF RFA’S
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                    1   PROPOUNDING PARTY:          PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                    GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                               DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                                                    RACHEL LOUISE SNYDER, JACQUELINE WOODSON, LYSA
                    3                               TERKEURST, AND CHRISTOPHER FARNSWORTH
                    4   RESPONDING PARTY:           DEFENDANT META PLATFORMS, INC.
                    5   SET NUMBER:                  ONE
                    6          Pursuant to Rule 36 of the Federal Rules of Civil Procedure (“Rules”), Defendant Meta
                    7   Platforms, Inc. (“Meta”) responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,
                    8   Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,
                    9   Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, Lysa TerKeurst, and
                   10   Christopher Farnsworth’s First Set of Requests for Admissions (“Requests”).
                   11   I.     RESPONSES TO ALL REQUESTS
                   12          1.      Meta’s responses to the Requests are made to the best of Meta’s present knowledge,
                   13   information, and belief. Said responses are at all times subject to such additional or different
                   14   information that discovery or further investigation may disclose, and Meta reserves the right to
                   15   amend, revise, correct, supplement, or clarify the responses and objections propounded herein.
                   16          2.      To the extent that Meta responds to Plaintiff’s Requests by stating that Meta will
                   17   provide information and/or documents which Meta or any other party to this litigation deems to
                   18   embody material that is private, business confidential, proprietary, trade secret, or otherwise
                   19   protected from disclosure pursuant to Rule 26(c)(7) or Federal Rule of Evidence 501, Meta will do
                   20   so pursuant to the Stipulated Protective Order entered in this case (Dkt. 90).
                   21          3.      The provision of a response to any of these Requests does not constitute a waiver of
                   22   any objection regarding the use of said response in these proceedings. Meta reserves all objections
                   23   or other questions as to the competency, relevance, materiality, privilege or admissibility as
                   24   evidence in any subsequent proceeding in or trial of this or any other action for any purpose
                   25   whatsoever of this response and any document or thing produced in response to the Requests.
                   26          4.      Meta reserves the right to object on any ground at any time to such other or
                   27   supplemental requests for admission that Plaintiffs may propound involving or relating to the
                   28   subject matter of these Requests.
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
                                                                   1                              PLTF’S FIRST SET OF RFA’S
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                    1   II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS
                    2          Whether or not separately set forth in response to each Request, Meta makes these
                    3   objections to the following Instructions and Definitions.
                    4          1.      Meta objects to all defined terms to the extent that they are not utilized in Plaintiffs’
                    5   First Set of Requests for Admission.
                    6          2.      Meta objects to the definition of "Complaint," which refers to the production of
                    7   documents in response to Plaintiffs' Requests for Admission. Meta will construe "Complaint" to
                    8   refer to Plaintiffs' Corrected Second Consolidated Amended Complaint (Dkt. 133), filed September
                    9   9, 2024.
                   10          3.      Meta objects to the definition of “Dataset(s)” as vague, ambiguous, as to the phrase
                   11   “all collections of data,” which is indefinite and overbroad. Meta further objects to the definition
                   12   of “Dataset(s)” as vague and ambiguous as to the phrase “referenced, or intended to be used,”
                   13   which, read literally, would encompass any dataset referenced by any Meta employee in the context
                   14   of the development, training, validation, testing, or evaluation of LLMs and any datasets that were
                   15   intended for such use but not actually used. Meta further objects to this definition to the extent it
                   16   purports to include datasets that include content to which Plaintiffs have made no claim of
                   17   ownership and which are not the subject of any allegations of copyright infringement by Plaintiffs.
                   18   Meta will construe “Dataset(s)” to mean the textual datasets used to train the Llama Models (as
                   19   construed below).
                   20          4.      Meta objects to the definition of “Llama Models” as vague and ambiguous as to the
                   21   terms and phrases “other AI models,” “instances,” “iterations,” “versions,” “updates,”
                   22   “modifications,” “original version,” “experimental versions,” “subsequent versions,” and
                   23   “refinements to the underlying algorithm, parameters, or architecture,” as applied to Llama and
                   24   “any other AI models developed or in development by Meta.” Meta further objects to this definition
                   25   as overbroad, unduly burdensome, and disproportionate to the needs of the case to the extent that
                   26   it purports to require Meta to produce documents concerning large language models (“LLMs”) that
                   27   were not publicly released and/or were not trained on corpuses of text that allegedly include any of
                   28   Plaintiffs’ allegedly copyrighted works. For the same reason, Meta objects to this definition to the
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
                                                                    2                               PLTF’S FIRST SET OF RFA’S
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                    1   extent that it purports to require Meta to produce documents that are not relevant to any party’s
                    2   claims or defenses. Meta will construe “Llama Models” to mean the models within the Llama
                    3   family of LLMs that have been publicly released by Meta, namely, Llama 1, Llama 2, Code Llama,
                    4   and Llama 3.
                    5          5.      Meta objects to the definitions of “Llama 1,” “Llama 2,” and “Llama 3” as vague
                    6   and ambiguous as to the undefined terms “precursor models” and “variant models.” Meta further
                    7   objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of
                    8   the case to the extent that it purports to require Meta to produce documents or information
                    9   concerning LLMs that were not publicly released and/or were not trained on corpuses of text that
                   10   include any of Plaintiffs’ allegedly copyrighted works. For the same reason, Meta objects to these
                   11   definitions to the extent that they purport to require Meta to produce documents or information
                   12   concerning LLMs that are not relevant to any party’s claims or defenses. For purposes of these
                   13   responses, Meta construes the term “Llama 1” to refer to the LLM released by Meta as Llama on
                   14   February 24, 2023, the term “Llama 2” to refer to the LLM released by Meta under that name on
                   15   July 18, 2023, and the term “Llama 3” to refer to the LLMs released by Meta under that name on
                   16   April 18, 2024, July 23, 2024, and September 25, 2024.
                   17          6.      Meta objects to the definition of “Meta” as overbroad and unduly burdensome to the
                   18   extent it seeks to impose on Meta an obligation to investigate information or documents outside of
                   19   its possession, custody, or control. For purposes of these responses, Meta construes the term
                   20   “Meta” or “You” to mean Meta Platforms, Inc. and its officers, directors, employees, and
                   21   authorized agents working on its behalf and subject to its control.
                   22          7.      Meta objects to the definition of “Relevant Period” as vague, ambiguous, and
                   23   unintelligible, as it is defined circularly to mean “all times relevant to … the Complaint.” Meta
                   24   construes the Relevant Period to mean January 1, 2022 to the present.
                   25          8.      Meta objects to Instruction 4 to the extent it purports to require more of Meta than
                   26   any obligation imposed by law, and to the extent it purports to require Meta to disclose information
                   27   protected by attorney-client privilege and/or the attorney work product doctrine.
                   28
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ATTORNEYS AT LAW                                                                                   META’S OBJ & RESPS TO
                                                                   3                             PLTF’S FIRST SET OF RFA’S
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                    1          9.        Meta objects to Instruction 5 as overbroad and unduly burdensome to the extent it
                    2   purports to require more of Meta than any obligation imposed by law.
                    3          10.       Meta objects to Instruction 8 insofar as it provides that any Request will be deemed
                    4   admitted as a result of an undefined "inadequate" response, without requiring Plaintiffs to bring a
                    5   motion regarding the sufficiency of an answer or objection, as required under Fed. R. Civ. P.
                    6   36(a)(6).
                    7   III.   OBJECTIONS AND RESPONSES TO INDIVIDUAL DOCUMENT REQUESTS
                    8   REQUEST FOR ADMISSION NO. 1:
                    9          Admit that Meta created and maintains the large language models known as Llama.
                   10   RESPONSE TO REQUEST FOR ADMISSION NO. 1:
                   11          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   12   own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   13   as compound.
                   14          Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   15   admits that it created a family of generative artificial intelligence (“AI”) large language models
                   16   known under variations of the “Llama” name (i.e., Llama 1, Llama 2, Llama 3), which Meta
                   17   released under open source licenses. Except as expressly admitted, Meta denies the Request.
                   18   REQUEST FOR ADMISSION NO. 2:
                   19          Admit that the Llama Models are large language models designed to emit naturalistic text
                   20   outputs in response to user prompts.
                   21   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
                   22          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   23   own definitions stated therein, which are applicable to this Request. Meta objects to the terms
                   24   “designed to” and “naturalistic” as vague and ambiguous, as it is unclear whether this Request is
                   25   asking for an admission regarding Meta’s intended purpose of the Llama Models or about their
                   26   functionality.
                   27

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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
                                                                    4                              PLTF’S FIRST SET OF RFA’S
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                    1          Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                    2   admits that one of the functions of the Llama Models is to emit natural language text outputs in
                    3   response to user prompts. Except as expressly admitted, Meta denies the Request.
                    4   REQUEST FOR ADMISSION NO. 3:
                    5          Admit that the Dataset used to train Llama 1 included copyrighted books.
                    6   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
                    7          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    8   own definitions stated therein, which are applicable to this Request. Meta objects to the term
                    9   “Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train
                   10   Llama 1. Meta objects to this Request to the extent that it calls for a legal conclusion as to
                   11   “copyrighted books,” and on the ground that it does not specify any copyrighted books or otherwise
                   12   define this term.
                   13          Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   14   admits that text from a published and commercially-available version of one or more books is
                   15   included in a Dataset used to train Llama 1. As Meta lacks knowledge as to whether that text also
                   16   appeared in the deposit copies submitted to the U.S. Copyright Office, which delimits what is
                   17   covered by the corresponding copyright registrations for those books, Meta denies this RFA.
                   18   REQUEST FOR ADMISSION NO. 4:
                   19          Admit that the Dataset used to train Llama 2 included copyrighted books.
                   20   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
                   21          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   22   own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   23   “Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train
                   24   Llama 2. Meta objects to this Request to the extent that it calls for a legal conclusion as to
                   25   “copyrighted books,” and on the ground that it does not specify any copyrighted books or otherwise
                   26   define this term.
                   27          Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   28   admits that text from a published and commercially-available version of one or more books is
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ATTORNEYS AT LAW                                                                                   META’S OBJ & RESPS TO
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                    1   included in a Dataset used to train Llama 2. As Meta lacks knowledge as to whether that text also
                    2   appeared in the deposit copies submitted to the U.S. Copyright Office, which delimit what is
                    3   covered by the corresponding copyright registrations for those books, Meta denies this RFA.
                    4   REQUEST FOR ADMISSION NO. 5:
                    5          Admit that the Dataset used to train Llama 3 included copyrighted books.
                    6   RESPONSE TO REQUEST FOR ADMISSION NO. 5:
                    7          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    8   own definitions stated therein, which are applicable to this Request. Meta objects to the term
                    9   “Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train
                   10   Llama 3. Meta objects to this Request to the extent that it calls for a legal conclusion.
                   11          Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   12   admits that text from a published and commercially-available version of one or more books is
                   13   included in a Dataset used to train Llama 3. As Meta lacks knowledge as to whether that text also
                   14   appeared in the deposit copies submitted to the U.S. Copyright Office, which delimit what is
                   15   covered by the corresponding copyright registrations for those books, Meta denies this RFA.
                   16   REQUEST FOR ADMISSION NO. 6:
                   17          Admit that the Dataset used or that will be used to train Llama 4 included copyrighted books.
                   18   RESPONSE TO REQUEST FOR ADMISSION NO. 6:
                   19          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   20   own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   21   “Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train
                   22   Llama 4. Meta objects to this Request to the extent that it calls for a legal conclusion as to
                   23   “copyrighted books,” and on the ground that it does not specify any copyrighted books or otherwise
                   24   define this term. Meta objects to this Request as purely speculative and not relevant to the claims
                   25   or defenses of any party insofar as Meta has not yet released Llama 4 and Meta is in the process of
                   26   finalizing the data corpus for Llama 4.
                   27          Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   28   admits that text from a published and commercially-available version of one or more books is
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1   included in a Dataset that may be used to train Llama 4. As Meta lacks knowledge as to whether
                    2   that text also appeared in the deposit copies submitted to the U.S. Copyright Office, which delimit
                    3   what is covered by the corresponding copyright registrations for those books, Meta denies this
                    4   RFA.
                    5   REQUEST FOR ADMISSION NO. 7:
                    6          Admit that You did not obtain permission or consent from the relevant copyright owners to
                    7   use all copyrighted books in the Datasets used to train Llama Models.
                    8   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
                    9          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   10   own definitions stated therein, which are applicable to this Request. Meta objects to the Request
                   11   as vague, ambiguous, and unintelligible as to “use all copyrighted books in the Datasets.” Meta
                   12   also objects on the ground that the terms “relevant copyright owners” and “copyrighted books” are
                   13   vague, ambiguous, indefinite, undefined, and overbroad in that they are untethered to the allegedly
                   14   copyright registered works at issue in this Action. Meta objects to the Request as compound insofar
                   15   as it seeks an admission as to multiple datasets used to train Llama Models. Meta objects to this
                   16   Request to the extent it improperly suggests that Meta participated in the selection of books or other
                   17   content to be included in the datasets used to train the Llama Models or that Meta was required to
                   18   obtain permission from copyright owners to train the Llama Models on any unspecified content of
                   19   books they authored or to which they own the copyright.
                   20          Subject to and without waiving the foregoing objections, Meta responds as follows: As
                   21   written, Meta is unable to respond to this Request and on that basis denies the Request. Meta is
                   22   willing to meet and confer to understand how to interpret this Request.
                   23   REQUEST FOR ADMISSION NO. 8:
                   24          Admit that You did not obtain permission from Plaintiffs to include the content of books
                   25   they authored in the Datasets used to train Llama Models.
                   26   RESPONSE TO REQUEST FOR ADMISSION NO. 8:
                   27          Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   28   own definitions stated therein, which are applicable to this Request. Meta objects to the Request
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    as compound insofar as it seeks an admission as to multiple datasets used to train Llama Models.
                    2    Meta further objects on the ground that the term “content of books they authored” is vague,
                    3    ambiguous, indefinite, undefined, and overbroad in that it is untethered to the allegedly copyright
                    4    registered works at issue in this Action. Meta objects to this Request to the extent it improperly
                    5    suggests that Meta participated in the selection of books or other content to be included in the
                    6    datasets used to train the Llama Models or that Meta was required to obtain permission from
                    7    Plaintiffs to train the Llama Models on any unspecified content of books they authored.
                    8           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                    9    admits that it did not seek, obtain, or need permission from Plaintiffs to train Llama Models using
                   10    Datasets to the extent they included the content of books they purportedly authored. Except as
                   11    expressly admitted, Meta denies the Request.
                   12    REQUEST FOR ADMISSION NO. 9:
                   13           Admit that You did not compensate Plaintiffs for the inclusion of the content of books they
                   14    authored in the Datasets used to train Llama Models.
                   15    RESPONSE TO REQUEST FOR ADMISSION NO. 9:
                   16           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   17    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   18    “compensate” as vague and ambiguous. Meta will construe “compensate” to refer to financial
                   19    compensation. Meta objects to the Request as compound insofar as it seeks an admission as to
                   20    multiple datasets used to train Llama Models. Meta further objects on the ground that the term
                   21    “content of books they authored” is vague, ambiguous, indefinite, undefined, and overbroad in that
                   22    it is untethered to the allegedly copyright registered works at issue in this Action. Meta objects to
                   23    this Request to the extent it improperly suggests that Meta participated in the selection of the
                   24    content of books or other content to be included in the datasets used to train the Llama Models or
                   25    that Meta was required to compensate Plaintiffs to train the Llama Models on any unspecified
                   26    content of books Plaintiffs authored.
                   27           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   28    admits that it did not compensate or need to compensate Plaintiffs for the inclusion of the content
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    of books they purportedly authored in the Datasets used to train Llama Models, to the extent those
                    2    Datasets included the content of books they purportedly authored. Except as expressly admitted,
                    3    Meta denies the Request.
                    4    REQUEST FOR ADMISSION NO. 10:
                    5           Admit that You have made Llama 1 available for use by Third Parties.
                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 10:
                    7           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    8    own definitions stated therein, which are applicable to this Request.
                    9           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   10    admits that it has made Llama 1 available for use by Third Parties under certain circumstances and
                   11    subject to certain terms and restrictions. Except as expressly admitted, Meta denies the Request.
                   12    REQUEST FOR ADMISSION NO. 11:
                   13           Admit that You have made Llama 2 available for use by Third Parties.
                   14    RESPONSE TO REQUEST FOR ADMISSION NO. 11:
                   15           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   16    own definitions stated therein, which are applicable to this Request.
                   17           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   18    admits that it has made Llama 2 available for use by Third Parties under certain circumstances and
                   19    subject to certain terms and restrictions. Except as expressly admitted, Meta denies the Request.
                   20    REQUEST FOR ADMISSION NO. 12:
                   21           Admit that You have made Llama 3 available for use by Third Parties.
                   22    RESPONSE TO REQUEST FOR ADMISSION NO. 12:
                   23           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   24    own definitions stated therein, which are applicable to this Request.
                   25           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   26    admits that it has made Llama 3 available for use by Third Parties under certain circumstances and
                   27    subject to certain terms and restrictions. Except as expressly admitted, Meta denies the Request.
                   28
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    REQUEST FOR ADMISSION NO. 13:
                    2           Admit that you intend to make Llama 4 available for use by Third Parties.
                    3    RESPONSE TO REQUEST FOR ADMISSION NO. 13:
                    4           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    5    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                    6    as purely speculative and not relevant to the claims or defenses of any party insofar as Meta has not
                    7    yet released Llama 4.
                    8           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                    9    admits that it currently intends to make Llama 4 available for use by Third Parties at some point in
                   10    the future under certain circumstances and subject to certain terms and restrictions. Except as
                   11    expressly admitted, Meta denies the Request.
                   12    REQUEST FOR ADMISSION NO. 14:
                   13           Admit that You have generated revenue from making one or more Llama Models available
                   14    for use by Third Parties.
                   15    *CONFIDENTIAL* RESPONSE TO REQUEST FOR ADMISSION NO. 14:
                   16           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   17    own definitions stated therein, which are applicable to this Request. Meta further objects to the
                   18    capitalized term “Third Parties,” which is ambiguous and undefined. Meta construes this term to
                   19    refer to persons who are not named parties to this Action. Meta further objects to this Request on
                   20    the ground that the terms “generated revenue” and “from making one or more Llama Models
                   21    available for use by Third Parties” are vague, ambiguous, and undefined. Meta further objects on
                   22    the ground that this Request is compound.
                   23           Subject to and without waiving the foregoing objections, Meta responds as follows:
                   24

                   25

                   26    REQUEST FOR ADMISSION NO. 15:
                   27           Admit that You have not disclosed all Datasets used to train Llama Models in response to
                   28    discovery in this case.
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
                                                                     10                            PLTF’S FIRST SET OF RFA’S
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 15:
                    2           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    3    own definitions stated therein, which are applicable to this Request, including, in particular
                    4    Objection No. 4. Meta objects to this Request as improperly seeking discovery on discovery. Meta
                    5    further objects to this Request to the extent it seeks information that is not relevant to the claims or
                    6    defenses of any party.
                    7           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                    8    REQUEST FOR ADMISSION NO. 16:
                    9           Admit that You used the Books3 database as a Dataset to train one or more Llama Models.
                   10    RESPONSE TO REQUEST FOR ADMISSION NO. 16:
                   11           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   12    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   13    “Books3 database” as vague and ambiguous. Meta will construe “Books3 database” to mean the
                   14    third-party dataset commonly known as Books3. Meta further objects to this Request as compound.
                   15           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   16    admits that it has used a portion of the third-party dataset commonly known as Books3 as training
                   17    data to train one or more Llama Models. Except as expressly admitted, Meta denies this Request.
                   18    REQUEST FOR ADMISSION NO. 17:
                   19           Admit that the Books3 database contains copyrighted works.
                   20    RESPONSE TO REQUEST FOR ADMISSION NO. 17:
                   21           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   22    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   23    “Books3 database” as vague and ambiguous. Meta will construe “Books3 database” to mean the
                   24    third-party dataset commonly known as Books3. Meta objects to this Request to the extent that it
                   25    calls for a legal conclusion as to “copyrighted works,” and on the ground that it does not specify
                   26    any copyrighted works or otherwise define this term.
                   27           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   28    admits that text from a published and commercially-available version of one or more copyrighted
COOLEY LLP
ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    1    works appears in the third-party dataset commonly known as Books3. As Meta lacks knowledge
                    2    as to whether that text also appeared in the deposit copies submitted to the U.S. Copyright Office,
                    3    which delimit what is covered by the corresponding copyright registrations for those works, Meta
                    4    denies this RFA.
                    5    REQUEST FOR ADMISSION NO. 18:
                    6           Admit that Your use of the Books3 database as a Dataset for training Llama Models was
                    7    not authorized by all copyright owners of the works contained within the Books3 database.
                    8    RESPONSE TO REQUEST FOR ADMISSION NO. 18:
                    9           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   10    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   11    “Books3 database” as vague and ambiguous. Meta will construe “Books3 database” to mean the
                   12    third-party dataset commonly known as Books3. Meta objects to this Request to the extent that it
                   13    calls for a legal conclusion. Meta objects to this Request to the extent it improperly suggests that
                   14    Meta participated in the selection of content to be included in the third-party Books3 dataset or that
                   15    Meta’s use of the Books3 dataset for training the Llama Models required authorization from the
                   16    owners of the copyrights in the works contained within that dataset.
                   17           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   18    admits that it did not seek, obtain, or need authorization from all owners of any copyrighted works
                   19    included within the third-party dataset commonly known as Books3 to use that dataset for training
                   20    Llama Models. Except as expressly admitted, Meta denies this Request.
                   21    REQUEST FOR ADMISSION NO. 19:
                   22           Admit that You used the “Library Genesis” database as a Dataset to train one or more Llama
                   23    Models.
                   24    *CONFIDENTIAL* RESPONSE TO REQUEST FOR ADMISSION NO. 19:
                   25           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   26    own definitions stated therein, which are applicable to this Request. Meta further objects to this
                   27    Request as compound.
                   28           Subject to and without waiving the foregoing objections, Meta responds as follows:
COOLEY LLP
ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    4    REQUEST FOR ADMISSION NO. 20:
                    5            Admit that the “Library Genesis” database contains copyrighted works.
                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 20:
                    7            Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    8    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                    9    to the extent that it calls for a legal conclusion as to “copyrighted works,” and on the ground that it
                   10    does not specify any copyrighted works or otherwise define this term.
                   11            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   12    admits that text from a published and commercially-available version of one or more books appears
                   13    in the third-party “Library Genesis” database. As Meta lacks knowledge as to whether that text
                   14    also appeared in the deposit copies submitted to the U.S. Copyright Office, which delimit what is
                   15    covered by the corresponding copyright registrations for those works, Meta denies this RFA.
                   16    REQUEST FOR ADMISSION NO. 21:
                   17            Admit that Your use of the “Library Genesis” database as a Dataset for training Llama
                   18    Models was not authorized by all copyright owners of the works contained within the “Library
                   19    Genesis” database.
                   20    *CONFIDENTIAL* RESPONSE TO REQUEST FOR ADMISSION NO. 21:
                   21            Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   22    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   23    to the extent that it calls for a legal conclusion. Meta objects to this Request to the extent it suggests
                   24    that Meta’s use of data from the third-party “Library Genesis” database for training the Llama
                   25    Models required authorization from the owners of the copyrights in the works contained within that
                   26    database.
                   27            Subject to and without waiving the foregoing objections, Meta responds as follows:
                   28
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ATTORNEYS AT LAW                                                                                         META’S OBJ & RESPS TO
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                    3    REQUEST FOR ADMISSION NO. 22:
                    4           Admit that You used the database known as “The Pile” as a Dataset to train one or more
                    5    Llama Models.
                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 22:
                    7           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    8    own definitions stated therein, which are applicable to this Request. Meta objects to the term “‘The
                    9    Pile’ database” as vague and ambiguous. Meta will construe “‘The Pile’ database” to mean the
                   10    third-party dataset commonly known as The Pile.         Meta further objects to this Request as
                   11    compound.
                   12           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   13    admits that it has used some content included in the third-party dataset commonly known as The
                   14    Pile as training data to train one or more Llama Models. Except as expressly admitted, Meta denies
                   15    this Request.
                   16    REQUEST FOR ADMISSION NO. 23:
                   17           Admit that the database known as “The Pile” contains copyrighted works.
                   18    RESPONSE TO REQUEST FOR ADMISSION NO. 23:
                   19           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   20    own definitions stated therein, which are applicable to this Request. Meta objects to the term “‘The
                   21    Pile’ database” as vague and ambiguous. Meta will construe “‘The Pile’ database” to mean the
                   22    third-party dataset commonly known as The Pile. Meta objects to this Request to the extent that it
                   23    calls for a legal conclusion as to “copyrighted works,” and on the ground that it does not specify
                   24    any copyrighted works or otherwise define this term.
                   25           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   26    admits that text from a published and commercially-available version of one or more books appears
                   27    in the third-party dataset commonly known as The Pile. As Meta lacks knowledge as to whether
                   28    that text also appeared in the deposit copies submitted to the U.S. Copyright Office, which delimit
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    what is covered by the corresponding copyright registrations for those works, Meta denies this
                    2    RFA.
                    3    REQUEST FOR ADMISSION NO. 24:
                    4           Admit that Your use of the database known as “The Pile” as a Dataset for training Llama
                    5    Models was not authorized by all copyright owners of the works contained within the “The Pile”
                    6    database.
                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 24:
                    8           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    9    own definitions stated therein, which are applicable to this Request. Meta objects to the term “‘The
                   10    Pile’ database” as vague and ambiguous. Meta will construe “‘The Pile’ database” to mean the
                   11    third-party dataset commonly known as The Pile. Meta objects to this Request to the extent that it
                   12    calls for a legal conclusion. Meta objects to this Request to the extent it improperly suggests that
                   13    Meta participated in the selection of content to be included in the third-party dataset commonly
                   14    known as The Pile or that Meta’s use of The Pile for training the Llama Models required
                   15    authorization from the owners of the copyrights in the works contained within that dataset.
                   16           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   17    admits that it did not seek, obtain, or need authorization from all owners of any copyrighted works
                   18    included within the third-party The Pile dataset to use that dataset for training Llama Models.
                   19    Except as expressly admitted, Meta denies this Request.
                   20    REQUEST FOR ADMISSION NO. 25:
                   21           Admit that You have contacted one or more Person(s) to negotiate licensing of material for
                   22    the purpose of training a Llama Model.
                   23    RESPONSE TO REQUEST FOR ADMISSION NO. 25:
                   24           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   25    own definitions stated therein, which are applicable to this Request. Meta objects to the terms
                   26    “material” and “licensing” as vague, ambiguous, and indefinite.
                   27

                   28
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                    2    admits that it has contacted one or more Persons to discuss an agreement for access to and use of
                    3    certain data as training material. Except as expressly admitted, Meta denies this Request.
                    4    REQUEST FOR ADMISSION NO. 26:
                    5           Admit that You have contacted one or more copyright owners to negotiate licensing of their
                    6    copyrighted material for the purpose of training a Llama Model.
                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 26:
                    8           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    9    own definitions stated therein, which are applicable to this Request. Meta objects to the terms
                   10    “copyright owners,” “copyrighted material,” and “licensing” as vague, ambiguous, indefinite, and
                   11    calling for a legal conclusion.
                   12           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   13    admits that it has contacted one or more Persons to discuss an agreement for access to and use of
                   14    certain data that may include copyrighted material as training material. Except as expressly
                   15    admitted, Meta denies this Request.
                   16    REQUEST FOR ADMISSION NO. 27:
                   17           Admit that each Llama Model can generate text outputs similar to copyrighted works in
                   18    Datasets used to train each Llama Model.
                   19    RESPONSE TO REQUEST FOR ADMISSION NO. 27:
                   20           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   21    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   22    insofar as it seeks information that is not relevant to any party’s claims or defenses, in particular
                   23    the substance of the outputs of the Llama Models. Meta objects to this Request as compound as it
                   24    purports to seek an admission as to multiple Llama Models. Meta objects to this Request on the
                   25    grounds that the terms “copyrighted works” and “similar to copyrighted works” are vague,
                   26    ambiguous, undefined, indefinite, and call for a legal conclusion. Meta objects to this Request as
                   27    speculative insofar as it seeks an admission as to whether the Llama Models “can” generate certain
                   28    text outputs, regardless of whether they actually do generate those text outputs. Meta objects to the
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    phrase “each Llama Model can generate” as vague and ambiguous. Meta will construe “each Llama
                    2    Model can generate” to refer to the capabilities of the final, released versions of Llama 1, Llama 2,
                    3    and Llama 3, as construed above. Meta further objects to this Request on the ground that it
                    4    constitutes an incomplete hypothetical and calls for speculation.
                    5           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                    6    REQUEST FOR ADMISSION NO. 28:
                    7           Admit that You issued a DMCA takedown notice to a Person who made a leaked version
                    8    of Llama 1 available for download to third parties.
                    9    RESPONSE TO REQUEST FOR ADMISSION NO. 28:
                   10           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   11    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   12    insofar as it seeks information that is not relevant to any party’s claims or defenses. Meta objects
                   13    to the term “leaked version” as vague, ambiguous, and undefined. Meta construes the term “third
                   14    parties” synonymously with the defined term Third Parties.
                   15           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   16    admits that it issued a DMCA takedown notice to a Person who made the Llama 1 weights available
                   17    for download to Third Parties other than those Persons authorized to use Llama 1. Except as
                   18    expressly admitted, Meta denies this Request.
                   19    REQUEST FOR ADMISSION NO. 29:
                   20           Admit that You received more than 100,000 applications for access to Llama 1.
                   21    RESPONSE TO REQUEST FOR ADMISSION NO. 29:
                   22           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   23    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   24    “applications” as vague and ambiguous.
                   25           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   26    admits that it received more than 100,000 requests to provide access to Llama 1. Except as
                   27    expressly admitted, Meta denies this Request.
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    REQUEST FOR ADMISSION NO. 30:
                    2           Admit that You granted access to Llama 1 to tens of thousands of third-party users.
                    3    RESPONSE TO REQUEST FOR ADMISSION NO. 30:
                    4           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    5    own definitions stated therein, which are applicable to this Request. Meta construes “third parties”
                    6    in this Request synonymously with the defined term Third Parties.
                    7           Subject to and without waiving the foregoing objections, Meta responds as follows: Admit.
                    8    REQUEST FOR ADMISSION NO. 31:
                    9           Admit that You granted access to Llama 2 to tens of thousands of third-party users.
                   10    RESPONSE TO REQUEST FOR ADMISSION NO. 31:
                   11           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   12    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   13    “granted access” as vague and ambiguous in the context of Llama 2, which is freely available. Meta
                   14    construes “third parties” in this Request synonymously with the defined term Third Parties.
                   15           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   16    admits that Llama 2 is freely available to at least tens of thousands of third-party users. Except as
                   17    expressly admitted, Meta denies this Request.
                   18    REQUEST FOR ADMISSION NO. 32:
                   19           Admit that You granted access to Llama 3 to tens of thousands of third-party users.
                   20    RESPONSE TO REQUEST FOR ADMISSION NO. 32:
                   21           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   22    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   23    “granted access” as vague and ambiguous in the context of Llama 3, which is freely available. Meta
                   24    construes “third parties” in this Request synonymously with the defined term Third Parties.
                   25           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   26    admits that Llama 3 is freely available to at least tens of thousands of third-party users. Except as
                   27    expressly admitted, Meta denies this Request.
                   28
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    REQUEST FOR ADMISSION NO. 33:
                    2             Admit that one or more Llama Models were trained using publicly available data.
                    3    RESPONSE TO REQUEST FOR ADMISSION NO. 33:
                    4             Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    5    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                    6    “publicly available data” as vague and ambiguous, and will construe the term to mean data that is
                    7    accessible for free to the general public. Meta further objects to this Request as compound.
                    8             Subject to and without waiving the foregoing objections, Meta responds as follows: Admit.
                    9    REQUEST FOR ADMISSION NO. 34:
                   10             Admit that the publicly available data used to train the Llama Models included copyrighted
                   11    works.
                   12    RESPONSE TO REQUEST FOR ADMISSION NO. 34:
                   13             Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   14    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   15    “publicly available data” as vague and ambiguous, and will construe the term to mean data that is
                   16    accessible for free to the general public. Meta objects to this Request to the extent that it calls for
                   17    a legal conclusion as to “copyrighted works,” and on the ground that it does not specify any
                   18    copyrighted works or otherwise define this term. Meta further objects to this Request as compound.
                   19             Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   20    admits that the publicly available data used to train the Llama Models included text from a
                   21    published and commercially-available version of one or more copyrighted works. As Meta lacks
                   22    knowledge as to whether that text also appeared in the deposit copies submitted to the U.S.
                   23    Copyright Office, which delimit what is covered by the corresponding copyright registrations for
                   24    those works, Meta denies this RFA.
                   25    REQUEST FOR ADMISSION NO. 35:
                   26             Admit that Meta has not provided to Plaintiffs a list of works used in the Datasets used to
                   27    train Llama Models.
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 35:
                    2           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    3    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                    4    “works” as vague, ambiguous, and indefinite. Meta objects to this Request as it improperly seeking
                    5    discovery on discovery.
                    6           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                    7    Meta has produced a list of the content of the third-party Books3 dataset (Meta_Kadrey_00000250),
                    8    which is alleged to include text from each of Plaintiffs’ books that are at issue in the Complaint.
                    9    Meta is not aware or in possession of any list(s) of the content of any other Datasets used to train
                   10    the Llama Models, and any such list(s) would not be relevant to the Parties’ claims or defenses nor
                   11    proportional to the needs of this case. Except as expressly admitted, Meta denies this Request.
                   12    REQUEST FOR ADMISSION NO. 36:
                   13           Admit that the toxicity mitigation measures in Llama 2 were identical to those present in
                   14    Llama 1.
                   15    RESPONSE TO REQUEST FOR ADMISSION NO. 36:
                   16           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   17    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   18    “toxicity mitigation measures” as vague, ambiguous, and undefined. Meta will construe this term
                   19    to refer to measures taken or implemented to avoid generating toxic content as outputs.
                   20           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                   21    REQUEST FOR ADMISSION NO. 37:
                   22           Admit that the toxicity mitigation measures in Llama 3 were identical to those present in
                   23    Llama 2.
                   24    RESPONSE TO REQUEST FOR ADMISSION NO. 37:
                   25           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   26    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   27    “toxicity mitigation measures” as vague, ambiguous, and undefined. Meta will construe this term
                   28    to refer to measures taken or implemented to avoid generating toxic content as outputs.
COOLEY LLP
ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                    2    REQUEST FOR ADMISSION NO. 38:
                    3           Admit that You store copyrighted material for training Llama Models.
                    4    RESPONSE TO REQUEST FOR ADMISSION NO. 38:
                    5           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    6    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                    7    to the extent that it calls for a legal conclusion. Meta objects to this Request on the grounds that
                    8    the term “copyrighted material” is vague, ambiguous, undefined, indefinite, and calls for a legal
                    9    conclusion. Meta objects to the term “store copyrighted material for training Llama Models” as
                   10    vague and ambiguous. Meta also objects on the ground that this Request is overbroad and seeks
                   11    information that is not relevant to any party’s claims or defenses. Meta objects to this Request as
                   12    compound.
                   13           Subject to and without waiving the foregoing objections, Meta responds as follows: As
                   14    written, Meta is unable to respond to this Request and on that basis denies the Request. Meta is
                   15    willing to meet and confer to understand how to interpret this Request.
                   16    REQUEST FOR ADMISSION NO. 39:
                   17           Admit that You have not deleted all copyrighted material in Your possession after it is used
                   18    for training Llama Models.
                   19    RESPONSE TO REQUEST FOR ADMISSION NO. 39:
                   20           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   21    own definitions stated therein, which are applicable to this Request. . Meta objects to this Request
                   22    on the grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite,
                   23    and calls for a legal conclusion. Meta objects to this Request to the extent it suggests that Meta
                   24    was required to delete copyrighted material used for training LLMs after the material was used to
                   25    train its Llama Models. Meta also objects on the ground that this Request is overbroad and seeks
                   26    information that is not relevant to any party’s claims or defenses. Meta objects to this Request as
                   27    compound.
                   28           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    admits that it has not deleted all training data used to train its Llama Models in its possession after
                    2    that training data was used to train its Llama Models, including, in part, to comply with its
                    3    obligations to preserve relevant documents and materials in connection with this Action. Except
                    4    as expressly admitted, Meta denies this Request.
                    5    REQUEST FOR ADMISSION NO. 40:
                    6           Admit that you reproduced copyrighted material in the training of Llama models.
                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 40:
                    8           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                    9    own definitions stated therein, which are applicable to this Request. Meta objects to the term
                   10    “Llama models” as vague and ambiguous to the extent its meaning is intended to be different from
                   11    the defined term “Llama Models.” Meta will construe “Llama models” as the defined term “Llama
                   12    Models” as limited and construed above. Meta objects to this Request on the grounds that the terms
                   13    “copyrighted material” and “reproduced” are vague, ambiguous, undefined, indefinite, and call for
                   14    a legal conclusion. Meta objects to this Request to the extent it calls for a legal conclusion. Meta
                   15    objects to this Request as compound.
                   16           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                   17    REQUEST FOR ADMISSION NO. 41:
                   18           Admit that the Llama Models are capable of reproducing copyrighted material.
                   19    RESPONSE TO REQUEST FOR ADMISSION NO. 41:
                   20           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   21    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   22    insofar as it seeks information that is not relevant to any party’s claims or defenses, in particular
                   23    the substance of the outputs of the Llama Models. Meta objects to this Request as compound as it
                   24    purports to seek an admission as to multiple Llama Models. Meta objects to this Request on the
                   25    grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite, and calls
                   26    for a legal conclusion. Meta objects to this Request as speculative insofar as it seeks an admission
                   27    as to whether the Llama Models “are capable of” reproducing certain material, regardless of
                   28    whether they actually do reproduce such material. Meta objects to the phrase “the Llama Models
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ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    1    are capable of reproducing” as vague and ambiguous. Meta will construe “the Llama Models are
                    2    capable of reproducing” to refer to the capabilities of the final, released versions of Llama 1, Llama
                    3    2, and Llama 3, as construed above. Meta further objects to this Request on the ground that it
                    4    constitutes an incomplete hypothetical and calls for speculation.
                    5           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                    6    REQUEST FOR ADMISSION NO. 42:
                    7           Admit that the Llama Models are programmed, trained, or filtered to avoid reproducing
                    8    copyrighted material.
                    9    RESPONSE TO REQUEST FOR ADMISSION NO. 42:
                   10           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   11    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   12    insofar as it seeks information that is not relevant to any party’s claims or defenses, in particular
                   13    the substance of the outputs of the Llama Models. Meta objects to this Request as compound as it
                   14    purports to seek an admission as to multiple Llama Models. Meta objects to this Request on the
                   15    grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite, and calls
                   16    for a legal conclusion.
                   17           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   18    admits that it implemented certain risk mitigation measures in the process of developing the Llama
                   19    Models to minimize the likelihood that the models would generate undesirable outputs, including
                   20    outputs that may reproduce portions of any copyrighted materials. Except as expressly admitted,
                   21    Meta denies this Request.
                   22    REQUEST FOR ADMISSION NO. 43:
                   23           Admit that the Llama Models that were trained with copyrighted material had at least in
                   24    part a commercial purpose.
                   25    RESPONSE TO REQUEST FOR ADMISSION NO. 43:
                   26           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   27    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   28    on the grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite,
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    and calls for a legal conclusion. Meta objects to the Request as compound.
                    2           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                    3    admits that Llama 2 and Llama 3 models were made available to the open source community
                    4    pursuant to a license that allowed developers to use the models for commercial uses pursuant to
                    5    certain terms and conditions. Meta also admits that the data used to train the Llama Models
                    6    included text from a published and commercially-available version of one or more copyrighted
                    7    works. As Meta lacks knowledge as to whether that text also appeared in the deposit copies
                    8    submitted to the U.S. Copyright Office, which delimit what is covered by the corresponding
                    9    copyright registrations for those works, Meta denies this RFA to the extent it seeks an admission
                   10    that the Llama Models were trained with copyrighted material. Except as expressly admitted, Meta
                   11    denies this Request.
                   12    REQUEST FOR ADMISSION NO. 44:
                   13           Admit that if copyright holders or other content creators demanded that You not use their
                   14    content to train Your LLM models, then You would not use their content to train Your LLM models.
                   15    RESPONSE TO REQUEST FOR ADMISSION NO. 44:
                   16           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   17    own definitions stated therein, which are applicable to this Request. Meta objects to this Request
                   18    on the ground that it constitutes an incomplete hypothetical and as purely speculative.
                   19           Subject to and without waiving the foregoing objections, Meta responds as follows: As
                   20    written, Meta is unable to respond to this Request and on that basis denies the Request. Meta is
                   21    willing to meet and confer to understand how to interpret this Request.
                   22    REQUEST FOR ADMISSION NO. 45:
                   23           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work Aloha from Hell.
                   24    RESPONSE TO REQUEST FOR ADMISSION NO. 45:
                   25           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   26    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   27    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   28    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    commonly known as Books3.
                    2           Meta lacks information sufficient to admit or deny that Aloha from Hell, which is the subject
                    3    of Plaintiff Kadrey’s claim and allegedly subject to copyright protection, is contained in the Books3
                    4    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Aloha
                    5    from Hell submitted to the U.S. Copyright Office, which delimits what is covered by the
                    6    corresponding copyright registration. Meta admits that text from a published and commercially-
                    7    available version of Aloha from Hell is included in the third party Books3 dataset. As Meta lacks
                    8    knowledge as to whether that text is also included in the deposit copy for this work, Meta denies
                    9    this RFA.
                   10    REQUEST FOR ADMISSION NO. 46:
                   11           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work The Everything
                   12    Box.
                   13    RESPONSE TO REQUEST FOR ADMISSION NO. 46:
                   14           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   15    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   16    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   17    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   18    commonly known as Books3.
                   19           Meta lacks information sufficient to admit or deny that The Everything Box, which is the
                   20    subject of Plaintiff Kadrey’s claim and allegedly subject to copyright protection, is contained in the
                   21    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   22    for The Everything Box submitted to the U.S. Copyright Office, which delimits what is covered by
                   23    the corresponding copyright registration. Meta admits that text from a published and
                   24    commercially-available version of The Everything Box is included in the third party Books3
                   25    dataset. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                   26    this work, Meta denies this RFA.
                   27    REQUEST FOR ADMISSION NO. 47:
                   28           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work Kill the Dead.
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 47:
                    2             Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    3    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    4    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    5    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    6    commonly known as Books3.
                    7             Meta lacks information sufficient to admit or deny that Kill the Dead, which is the subject
                    8    of Plaintiff Kadrey’s claim and allegedly subject to copyright protection, is contained in the Books3
                    9    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Kill
                   10    the Dead submitted to the U.S. Copyright Office, which delimits what is covered by the
                   11    corresponding copyright registration. Meta admits that text from a published and commercially-
                   12    available version of Kill the Dead is included in the third-party Books3 dataset. As Meta lacks
                   13    knowledge as to whether that text is also included in the deposit copy for this work, Meta denies
                   14    this RFA.
                   15    REQUEST FOR ADMISSION NO. 48:
                   16             Admit that the Books3 database contains Plaintiff Richard Kadrey’s work The Perdition
                   17    Score.
                   18    RESPONSE TO REQUEST FOR ADMISSION NO. 48:
                   19             Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   20    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   21    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   22    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   23    commonly known as Books3.
                   24             Meta lacks information sufficient to admit or deny that The Perdition Score, which is the
                   25    subject of Plaintiff Kadrey’s claim and allegedly subject to copyright protection, is contained in the
                   26    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   27    for The Perdition Score submitted to the U.S. Copyright Office, which delimits what is covered by
                   28    the corresponding copyright registration. Meta admits that text from a published and
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    commercially-available version of The Perdition Score is included in the third-party dataset
                    2    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                    3    the deposit copy for this work, Meta denies this RFA.
                    4    REQUEST FOR ADMISSION NO. 49:
                    5           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work Sandman Slim.
                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 49:
                    7           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    8    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    9    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   10    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   11    commonly known as Books3.
                   12           Meta lacks information sufficient to admit or deny that Sandman Slim, which is the subject
                   13    of Plaintiff Kadrey’s claim and allegedly subject to copyright protection, is contained in the Books3
                   14    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for
                   15    Sandman Slim submitted to the U.S. Copyright Office, which delimits what is covered by the
                   16    corresponding copyright registration. Meta admits that text from a published and commercially-
                   17    available version of Sandman Slim is included in the third-party dataset commonly known as
                   18    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                   19    this work, Meta denies this RFA.
                   20    REQUEST FOR ADMISSION NO. 50:
                   21           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work The Wrong Dead
                   22    Guy.
                   23    RESPONSE TO REQUEST FOR ADMISSION NO. 50:
                   24           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   25    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   26    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   27    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   28    commonly known as Books3.
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1           Meta lacks information sufficient to admit or deny that The Wrong Dead Guy, which is the
                    2    subject of Plaintiff Kadrey’s claim and allegedly subject to copyright protection, is contained in the
                    3    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                    4    for The Wrong Dead Guy submitted to the U.S. Copyright Office, which delimits what is covered
                    5    by the corresponding copyright registration. Meta admits that text from a published and
                    6    commercially-available version of The Wrong Dead Guy is included in the third-party dataset
                    7    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                    8    the deposit copy for this work, Meta denies this RFA.
                    9    REQUEST FOR ADMISSION NO. 51:
                   10           Admit that the Books3 database contains Plaintiff Sarah Silverman’s work The Bedwetter.
                   11    RESPONSE TO REQUEST FOR ADMISSION NO. 51:
                   12           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   13    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   14    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   15    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   16    commonly known as Books3.
                   17           Meta lacks information sufficient to admit or deny that The Bedwetter, which is the subject
                   18    of Plaintiff Silverman’s claim and allegedly subject to copyright protection, is contained in the
                   19    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   20    for The Bedwetter submitted to the U.S. Copyright Office, which delimits what is covered by the
                   21    corresponding copyright registration. Meta admits that text from a published and commercially-
                   22    available version of The Bedwetter is included in the third-party dataset commonly known as
                   23    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                   24    this work, Meta denies this RFA.
                   25    REQUEST FOR ADMISSION NO. 52:
                   26           Admit that the Books3 database contains Plaintiff Christopher Golden’s work Ararat.
                   27    RESPONSE TO REQUEST FOR ADMISSION NO. 52:
                   28           Meta incorporates by reference its Objections to Instructions and Definitions, which are
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    2    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    3    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    4    commonly known as Books3.
                    5           Meta lacks information sufficient to admit or deny that Ararat, which is the subject of
                    6    Plaintiff Golden’s claim and allegedly subject to copyright protection, is contained in the Books3
                    7    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Ararat
                    8    submitted to the U.S. Copyright Office, which delimits what is covered by the corresponding
                    9    copyright registration. Meta admits that text from a published and commercially-available version
                   10    of Ararat is included in the third-party dataset commonly known as Books3. As Meta lacks
                   11    knowledge as to whether that text is also included in the deposit copy for this work, Meta denies
                   12    this RFA.
                   13    REQUEST FOR ADMISSION NO. 53:
                   14           Admit that the Books3 database contains Plaintiff Christopher Golden’s work Dead
                   15    Ringers.
                   16    RESPONSE TO REQUEST FOR ADMISSION NO. 53:
                   17           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   18    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   19    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   20    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   21    commonly known as Books3.
                   22           Meta lacks information sufficient to admit or deny that Dead Ringers, which is the subject
                   23    of Plaintiff Golden’s claim and allegedly subject to copyright protection, is contained in the Books3
                   24    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Dead
                   25    Ringers submitted to the U.S. Copyright Office, which delimits what is covered by the
                   26    corresponding copyright registration. Meta admits that text from a published and commercially-
                   27    available version of Dead Ringers is included in the third-party dataset commonly known as
                   28
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                    2    this work, Meta denies this RFA.
                    3    REQUEST FOR ADMISSION NO. 54:
                    4            Admit that the Books3 database contains Plaintiff Christopher Golden’s work The Pandora
                    5    Room.
                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 54:
                    7            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    8    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    9    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   10    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   11    commonly known as Books3.
                   12            Meta lacks information sufficient to admit or deny that The Pandora Room, which is the
                   13    subject of Plaintiff Golden’s claim and allegedly subject to copyright protection, is contained in the
                   14    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   15    for The Pandora Room submitted to the U.S. Copyright Office, which delimits what is covered by
                   16    the corresponding copyright registration. Meta admits that text from a published and
                   17    commercially-available version of The Pandora Room is included in the third-party dataset
                   18    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                   19    the deposit copy for this work, Meta denies this RFA.
                   20    REQUEST FOR ADMISSION NO. 55:
                   21            Admit that the Books3 database contains Plaintiff Christopher Golden’s work Snowblind.
                   22    RESPONSE TO REQUEST FOR ADMISSION NO. 55:
                   23            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   24    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   25    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   26    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   27    commonly known as Books3.
                   28
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1           Meta lacks information sufficient to admit or deny that Snowblind, which is the subject of
                    2    Plaintiff Golden’s claim and allegedly subject to copyright protection, is contained in the Books3
                    3    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for
                    4    Snowblind submitted to the U.S. Copyright Office, which delimits what is covered by the
                    5    corresponding copyright registration. Meta admits that text from a published and commercially-
                    6    available version of Snowblind is included in the third-party dataset commonly known as
                    7    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                    8    this work, Meta denies this RFA.
                    9    REQUEST FOR ADMISSION NO. 56:
                   10           Admit that the Books3 database contains Plaintiff Ta-Nehisi Coates’s work The Beautiful
                   11    Struggle.
                   12    RESPONSE TO REQUEST FOR ADMISSION NO. 56:
                   13           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   14    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   15    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   16    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   17    commonly known as Books3.
                   18           Meta lacks information sufficient to admit or deny that The Beautiful Struggle, which is the
                   19    subject of Plaintiff Coates’s claim and allegedly subject to copyright protection, is contained in the
                   20    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   21    for The Beautiful Struggle submitted to the U.S. Copyright Office, which delimits what is covered
                   22    by the corresponding copyright registration. Meta admits that text from a published and
                   23    commercially-available version of The Beautiful Struggle is included in the third-party dataset
                   24    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                   25    the deposit copy for this work, Meta denies this RFA.
                   26    REQUEST FOR ADMISSION NO. 57:
                   27           Admit that the Books3 database contains Plaintiff Ta-Nehisi Coates’s work The Water
                   28    Dancer.
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 57:
                    2           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    3    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    4    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    5    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    6    commonly known as Books3.
                    7           Meta lacks information sufficient to admit or deny that The Water Dancer, which is the
                    8    subject of Plaintiff Coates’s claim and allegedly subject to copyright protection, is contained in the
                    9    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   10    for The Water Dancer submitted to the U.S. Copyright Office, which delimits what is covered by
                   11    the corresponding copyright registration. Meta admits that text from a published and
                   12    commercially-available version of The Water Dancer is included in the third-party dataset
                   13    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                   14    the deposit copy for this work, Meta denies this RFA.
                   15    REQUEST FOR ADMISSION NO. 58:
                   16           Admit that the Books3 database contains Plaintiff Ta-Nehisi Coates’s work We Were Eight
                   17    Years in Power.
                   18    RESPONSE TO REQUEST FOR ADMISSION NO. 58:
                   19           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   20    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   21    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   22    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   23    commonly known as Books3.
                   24           Meta lacks information sufficient to admit or deny that We Were Eight Years in Power,
                   25    which is the subject of Plaintiff Coates’s claim and allegedly subject to copyright protection, is
                   26    contained in the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce,
                   27    the deposit copy for We Were Eight Years in Power submitted to the U.S. Copyright Office, which
                   28    delimits what is covered by the corresponding copyright registration. Meta admits that text from a
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ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    published and commercially-available version of We Were Eight Years in Power is included in the
                    2    third-party dataset commonly known as Books3. As Meta lacks knowledge as to whether that text
                    3    is also included in the deposit copy for this work, Meta denies this RFA.
                    4    REQUEST FOR ADMISSION NO. 59:
                    5           Admit that the Books3 database contains Plaintiff Junot Díaz’s work The Brief Wondrous
                    6    Life of Oscar Wao.
                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 59:
                    8           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    9    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   10    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   11    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   12    commonly known as Books3.
                   13           Meta lacks information sufficient to admit or deny that The Brief Wondrous Life of Oscar
                   14    Wao, which is the subject of Plaintiff Diaz’s claim and allegedly subject to copyright protection, is
                   15    contained in the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce,
                   16    the deposit copy for The Brief Wondrous Life of Oscar Wao submitted to the U.S. Copyright Office,
                   17    which delimits what is covered by the corresponding copyright registration. Meta admits that text
                   18    from a published and commercially-available version of The Brief Wondrous Life of Oscar Wao is
                   19    included in the third-party dataset commonly known as Books3. As Meta lacks knowledge as to
                   20    whether that text is also included in the deposit copy for this work, Meta denies this RFA.
                   21    REQUEST FOR ADMISSION NO. 60:
                   22           Admit that the Books3 database contains Plaintiff Junot Díaz’s work Drown.
                   23    RESPONSE TO REQUEST FOR ADMISSION NO. 60:
                   24           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   25    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   26    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   27    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   28    commonly known as Books3.
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ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    1           Meta lacks information sufficient to admit or deny that Drown, which is the subject of
                    2    Plaintiff Diaz’s claim and allegedly subject to copyright protection, is contained in the Books3
                    3    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Drown
                    4    submitted to the U.S. Copyright Office, which delimits what is covered by the corresponding
                    5    copyright registration. Meta admits that text from a published and commercially-available version
                    6    of Drown is included in the third-party dataset commonly known as Books3. As Meta lacks
                    7    knowledge as to whether that text is also included in the deposit copy for this work, Meta denies
                    8    this RFA.
                    9    REQUEST FOR ADMISSION NO. 61:
                   10           Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work The
                   11    Confessions of Max Tivoli.
                   12    RESPONSE TO REQUEST FOR ADMISSION NO. 61:
                   13           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   14    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   15    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   16    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   17    commonly known as Books3.
                   18           Meta lacks information sufficient to admit or deny that The Confessions of Max Tivoli,
                   19    which is the subject of Plaintiff Greer’s claim and allegedly subject to copyright protection, is
                   20    contained in the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce,
                   21    the deposit copy for The Confessions of Max Tivoli submitted to the U.S. Copyright Office, which
                   22    delimits what is covered by the corresponding copyright registration. Meta admits that text from a
                   23    published and commercially-available version of The Confessions of Max Tivoli is included in the
                   24    third-party dataset commonly known as Books3. As Meta lacks knowledge as to whether that text
                   25    is also included in the deposit copy for this work, Meta denies this RFA.
                   26    REQUEST FOR ADMISSION NO. 62:
                   27           Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work How It Was
                   28    For Me.
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ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 62:
                    2           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    3    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    4    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    5    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    6    commonly known as Books3.
                    7           Meta lacks information sufficient to admit or deny that How It Was For Me, which is the
                    8    subject of Plaintiff Greer’s claim and allegedly subject to copyright protection, is contained in the
                    9    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   10    for How It Was For Me submitted to the U.S. Copyright Office, which delimits what is covered by
                   11    the corresponding copyright registration. Meta admits that text from a published and
                   12    commercially-available version of How It Was For Me is included in the third-party dataset
                   13    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                   14    the deposit copy for this work, Meta denies this RFA.
                   15    REQUEST FOR ADMISSION NO. 63:
                   16           Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work Less.
                   17    RESPONSE TO REQUEST FOR ADMISSION NO. 63:
                   18           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   19    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   20    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   21    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   22    commonly known as Books3.
                   23           Meta lacks information sufficient to admit or deny that Less, which is the subject of Plaintiff
                   24    Greer’s claim and allegedly subject to copyright protection, is contained in the Books3 dataset
                   25    because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Less submitted
                   26    to the U.S. Copyright Office, which delimits what is covered by the corresponding copyright
                   27    registration. Meta admits that text from a published and commercially-available version of Less is
                   28    included in the third-party dataset commonly known as Books3. As Meta lacks knowledge as to
COOLEY LLP
ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    whether that text is also included in the deposit copy for this work, Meta denies this RFA.
                    2    REQUEST FOR ADMISSION NO. 64:
                    3             Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work The Path of
                    4    Minor Planets.
                    5    RESPONSE TO REQUEST FOR ADMISSION NO. 64:
                    6             Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    7    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    8    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    9    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   10    commonly known as Books3.
                   11             Meta lacks information sufficient to admit or deny that The Path of Minor Planets, which
                   12    is the subject of Plaintiff Greer’s claim and allegedly subject to copyright protection, is contained
                   13    in the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                   14    copy for The Path of Minor Planets submitted to the U.S. Copyright Office, which delimits what
                   15    is covered by the corresponding copyright registration. Meta admits that text from a published and
                   16    commercially-available version of The Path of Minor Planets is included in the third-party dataset
                   17    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                   18    the deposit copy for this work, Meta denies this RFA.
                   19    REQUEST FOR ADMISSION NO. 65:
                   20             Admit that the Books3 database contains Plaintiff David Henry Hwang’s work Golden
                   21    Child.
                   22    RESPONSE TO REQUEST FOR ADMISSION NO. 65:
                   23             Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   24    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   25    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   26    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   27    commonly known as Books3.
                   28             Meta lacks information sufficient to admit or deny that Golden Child, which is the subject
COOLEY LLP
ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    of Plaintiff Hwang’s claim and allegedly subject to copyright protection, is contained in the Books3
                    2    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Golden
                    3    Child submitted to the U.S. Copyright Office, which delimits what is covered by the corresponding
                    4    copyright registration. Meta admits that text from a published and commercially-available version
                    5    of Golden Child is included in the third-party dataset commonly known as Books3. As Meta lacks
                    6    knowledge as to whether that text is also included in the deposit copy for this work, Meta denies
                    7    this RFA.
                    8    REQUEST FOR ADMISSION NO. 66:
                    9           Admit that the Books3 database contains Plaintiff David Henry Hwang’s work M. Butterfly.
                   10    RESPONSE TO REQUEST FOR ADMISSION NO. 66:
                   11           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   12    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   13    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   14    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   15    commonly known as Books3.
                   16           Meta lacks information sufficient to admit or deny that M. Butterfly, which is the subject of
                   17    Plaintiff Hwang’s claim and allegedly subject to copyright protection, is contained in the Books3
                   18    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for M.
                   19    Butterfly submitted to the U.S. Copyright Office, which delimits what is covered by the
                   20    corresponding copyright registration. Meta admits that text from a published and commercially-
                   21    available version of M. Butterfly is included in the third-party dataset commonly known as
                   22    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                   23    this work, Meta denies this RFA.
                   24    REQUEST FOR ADMISSION NO. 67:
                   25           Admit that the Books3 database contains Plaintiff David Henry Hwang’s work Trying to
                   26    Find Chinatown.
                   27    RESPONSE TO REQUEST FOR ADMISSION NO. 67:
                   28           Meta incorporates by reference its Objections to Instructions and Definitions, which are
COOLEY LLP
ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    2    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    3    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    4    commonly known as Books3.
                    5           Meta lacks information sufficient to admit or deny that Trying to Find Chinatown, which is
                    6    the subject of Plaintiff Hwang’s claim and allegedly subject to copyright protection, is contained
                    7    in the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                    8    copy for Trying to Find Chinatown submitted to the U.S. Copyright Office, which delimits what is
                    9    covered by the corresponding copyright registration. Meta admits that text from a published and
                   10    commercially-available version of Trying to Find Chinatown is included in the third-party dataset
                   11    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                   12    the deposit copy for this work, Meta denies this RFA.
                   13    REQUEST FOR ADMISSION NO. 68:
                   14           Admit that the Books3 database contains Plaintiff Matthew Klam’s work Sam the Cat.
                   15    RESPONSE TO REQUEST FOR ADMISSION NO. 68:
                   16           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   17    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   18    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   19    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   20    commonly known as Books3.
                   21           Meta lacks information sufficient to admit or deny that Sam the Cat, which is the subject of
                   22    Plaintiff Klam’s claim and allegedly subject to copyright protection, is contained in the Books3
                   23    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Sam
                   24    the Cat submitted to the U.S. Copyright Office, which delimits what is covered by the
                   25    corresponding copyright registration. Meta admits that text from a published and commercially-
                   26    available version of Sam the Cat is included in the third-party dataset commonly known as
                   27    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                   28    this work, Meta denies this RFA.
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ATTORNEYS AT LAW                                                                                   META’S OBJ & RESPS TO
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                    1    REQUEST FOR ADMISSION NO. 69:
                    2           Admit that the Books3 database contains Plaintiff Matthew Klam’s work Who is Rich?
                    3    RESPONSE TO REQUEST FOR ADMISSION NO. 69:
                    4           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    5    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    6    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    7    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    8    commonly known as Books3.
                    9           Meta lacks information sufficient to admit or deny that Who is Rich?, which is the subject
                   10    of Plaintiff Klam’s claim and allegedly subject to copyright protection, is contained in the Books3
                   11    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Who
                   12    is Rich? submitted to the U.S. Copyright Office, which delimits what is covered by the
                   13    corresponding copyright registration. Meta admits that text from a published and commercially-
                   14    available version of Who is Rich? is included in the third-party dataset commonly known as
                   15    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                   16    this work, Meta denies this RFA.
                   17    REQUEST FOR ADMISSION NO. 70:
                   18           Admit that the Books3 database contains Plaintiff Laura Lippman’s work After I’m Gone.
                   19    RESPONSE TO REQUEST FOR ADMISSION NO. 70:
                   20           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   21    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   22    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   23    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   24    commonly known as Books3.
                   25           Meta lacks information sufficient to admit or deny that After I’m Gone, which is the subject
                   26    of Plaintiff Lippman’s claim and allegedly subject to copyright protection, is contained in the
                   27    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   28    for After I’m Gone submitted to the U.S. Copyright Office, which delimits what is covered by the
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    corresponding copyright registration. Meta admits that text from a published and commercially-
                    2    available version of After I’m Gone is included in the third-party dataset commonly known as
                    3    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                    4    this work, Meta denies this RFA.
                    5    REQUEST FOR ADMISSION NO. 71:
                    6           Admit that the Books3 database contains Plaintiff Laura Lippman’s work In a Strange City.
                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 71:
                    8           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    9    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   10    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   11    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   12    commonly known as Books3.
                   13           Meta lacks information sufficient to admit or deny that In a Strange City, which is the
                   14    subject of Plaintiff Lippman’s claim and allegedly subject to copyright protection, is contained in
                   15    the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                   16    copy for In a Strange City submitted to the U.S. Copyright Office, which delimits what is covered
                   17    by the corresponding copyright registration. Meta admits that text from a published and
                   18    commercially-available version of In a Strange City is included in the third-party dataset commonly
                   19    known as Books3. As Meta lacks knowledge as to whether that text is also included in the deposit
                   20    copy for this work, Meta denies this RFA.
                   21    REQUEST FOR ADMISSION NO. 72:
                   22           Admit that the Books3 database contains Plaintiff Laura Lippman’s work Lady in the Lake.
                   23    RESPONSE TO REQUEST FOR ADMISSION NO. 72:
                   24           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   25    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   26    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   27    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   28    commonly known as Books3.
COOLEY LLP
ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1            Meta lacks information sufficient to admit or deny that Lady in the Lake, which is the subject
                    2    of Plaintiff Lippman’s claim and allegedly subject to copyright protection, is contained in the
                    3    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                    4    for Lady in the Lake submitted to the U.S. Copyright Office, which delimits what is covered by the
                    5    corresponding copyright registration. Meta admits that text from a published and commercially-
                    6    available version of Lady in the Lake is included in the third-party dataset commonly known as
                    7    Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy for
                    8    this work, Meta denies this RFA.
                    9    REQUEST FOR ADMISSION NO. 73:
                   10            Admit that the Books3 database contains Plaintiff Laura Lippman’s work Sunburn.
                   11    RESPONSE TO REQUEST FOR ADMISSION NO. 73:
                   12            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   13    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   14    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   15    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   16    commonly known as Books3.
                   17            Meta lacks information sufficient to admit or deny that Sunburn, which is the subject of
                   18    Plaintiff Lippman’s claim and allegedly subject to copyright protection, is contained in the Books3
                   19    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for
                   20    Sunburn submitted to the U.S. Copyright Office, which delimits what is covered by the
                   21    corresponding copyright registration. Meta admits that text from a published and commercially-
                   22    available version of Sunburn is included in the third-party dataset commonly known as Books3. As
                   23    Meta lacks knowledge as to whether that text is also included in the deposit copy for this work,
                   24    Meta denies this RFA.
                   25    REQUEST FOR ADMISSION NO. 74:
                   26            Admit that the Books3 database contains Plaintiff Laura Lippman’s work What the Dead
                   27    Know.
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                      META’S OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 74:
                    2           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    3    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    4    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    5    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    6    commonly known as Books3.
                    7           Meta lacks information sufficient to admit or deny that What the Dead Know, which is the
                    8    subject of Plaintiff Lippman’s claim and allegedly subject to copyright protection, is contained in
                    9    the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                   10    copy for What the Dead Know submitted to the U.S. Copyright Office, which delimits what is
                   11    covered by the corresponding copyright registration. Meta admits that text from a published and
                   12    commercially-available version of What the Dead Know is included in the third-party dataset
                   13    commonly known as Books3. As Meta lacks knowledge as to whether that text is also included in
                   14    the deposit copy for this work, Meta denies this RFA.
                   15    REQUEST FOR ADMISSION NO. 75:
                   16           Admit that the Books3 database contains Plaintiff Laura Lippman’s work Wilde Lake.
                   17    RESPONSE TO REQUEST FOR ADMISSION NO. 75:
                   18           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   19    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   20    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   21    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   22    commonly known as Books3.
                   23           Meta lacks information sufficient to admit or deny that Wilde Lake, which is the subject of
                   24    Plaintiff Lippman’s claim and allegedly subject to copyright protection, is contained in the Books3
                   25    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Wilde
                   26    Lake submitted to the U.S. Copyright Office, which delimits what is covered by the corresponding
                   27    copyright registration. Meta admits that text from a published and commercially-available version
                   28    of Wilde Lake is included in the third-party dataset commonly known as Books3. As Meta lacks
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    knowledge as to whether that text is also included in the deposit copy for this work, Meta denies
                    2    this RFA.
                    3    REQUEST FOR ADMISSION NO. 76:
                    4           Admit that the Books3 database contains Plaintiff Rachel Louise Snyder’s work No Visible
                    5    Bruises: What We Don’t Know About Domestic Violence Can Kill Us.
                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 76:
                    7           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    8    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    9    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   10    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   11    commonly known as Books3.
                   12           Meta admits that text from No Visible Bruises: What We Don’t Know About Domestic
                   13    Violence Can Kill Us is included in the third party dataset Books3 dataset. Except as expressly
                   14    admitted, Meta denies this RFA.
                   15    REQUEST FOR ADMISSION NO. 77:
                   16           Admit that the Books3 database contains Plaintiff Lysa TerKeurst’s work Embraced.
                   17    RESPONSE TO REQUEST FOR ADMISSION NO. 77:
                   18           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   19    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   20    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   21    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   22    commonly known as Books3.
                   23           Meta lacks information sufficient to admit or deny that Embraced, which is the subject of
                   24    Plaintiff TerKeurst’s claim and allegedly subject to copyright protection, is contained in the Books3
                   25    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for
                   26    Embraced submitted to the U.S. Copyright Office, which delimits what is covered by the
                   27    corresponding copyright registration. Meta admits that text from a published and commercially-
                   28    available version of Embraced is included in the dataset commonly known as Books3. As Meta
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    lacks knowledge as to whether that text is also included in the deposit copy for this work, Meta
                    2    denies this RFA.
                    3    REQUEST FOR ADMISSION NO. 78:
                    4           Admit that the Books3 database contains Plaintiff Lysa TerKeurst’s work Unglued.
                    5    RESPONSE TO REQUEST FOR ADMISSION NO. 78:
                    6           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    7    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    8    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    9    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   10    commonly known as Books3.
                   11           Meta lacks information sufficient to admit or deny that Unglued, which is the subject of
                   12    Plaintiff TerKeurst’s claim and allegedly subject to copyright protection, is contained in the Books3
                   13    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for
                   14    Unglued submitted to the U.S. Copyright Office, which delimits what is covered by the
                   15    corresponding copyright registration. Meta admits that text from a published and commercially-
                   16    available version of Unglued is included in the dataset commonly known as Books3. As Meta lacks
                   17    knowledge as to whether that text is also included in the deposit copy for this work, Meta denies
                   18    this RFA.
                   19    REQUEST FOR ADMISSION NO. 79:
                   20           Admit that the Books3 database contains Plaintiff Lysa TerKeurst’s work Made to Crave
                   21    Devotional.
                   22    RESPONSE TO REQUEST FOR ADMISSION NO. 79:
                   23           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   24    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   25    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   26    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   27    commonly known as Books3.
                   28           Meta lacks information sufficient to admit or deny that Made to Crave Devotional, which
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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
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                    1    is the subject of Plaintiff TerKeurst’s claim and allegedly subject to copyright protection, is
                    2    contained in the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce,
                    3    the deposit copy for Made to Crave Devotional submitted to the U.S. Copyright Office, which
                    4    delimits what is covered by the corresponding copyright registration. Meta admits that text from a
                    5    published and commercially-available version of Made to Crave Devotional is included in the
                    6    dataset commonly known as Books3. As Meta lacks knowledge as to whether that text is also
                    7    included in the deposit copy for this work, Meta denies this RFA.
                    8    REQUEST FOR ADMISSION NO. 80:
                    9           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work After Tupac
                   10    & D Foster.
                   11    RESPONSE TO REQUEST FOR ADMISSION NO. 80:
                   12           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   13    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   14    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   15    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   16    commonly known as Books3.
                   17           Meta lacks information sufficient to admit or deny that After Tupac & D Foster, which is
                   18    the subject of Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained
                   19    in the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                   20    copy for After Tupac & D Foster submitted to the U.S. Copyright Office, which delimits what is
                   21    covered by the corresponding copyright registration. Meta admits that text from a published and
                   22    commercially-available version of After Tupac & D Foster is included in the dataset commonly
                   23    known as Books3. As Meta lacks knowledge as to whether that text is also included in the deposit
                   24    copy for this work, Meta denies this RFA.
                   25    REQUEST FOR ADMISSION NO. 81:
                   26           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Another
                   27    Brooklyn.
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 81:
                    2           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    3    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    4    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    5    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    6    commonly known as Books3.
                    7           Meta lacks information sufficient to admit or deny that Another Brooklyn, which is the
                    8    subject of Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in
                    9    the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                   10    copy for Another Brooklyn submitted to the U.S. Copyright Office, which delimits what is covered
                   11    by the corresponding copyright registration. Meta admits that text from a published and
                   12    commercially-available version of Another Brooklyn is included in the dataset commonly known
                   13    as Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy
                   14    for this work, Meta denies this RFA.
                   15    REQUEST FOR ADMISSION NO. 82:
                   16           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Behind You.
                   17    RESPONSE TO REQUEST FOR ADMISSION NO. 82:
                   18           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   19    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   20    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   21    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   22    commonly known as Books3.
                   23           Meta lacks information sufficient to admit or deny that Behind You, which is the subject of
                   24    Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in the Books3
                   25    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Behind
                   26    You submitted to the U.S. Copyright Office, which delimits what is covered by the corresponding
                   27    copyright registration. Meta admits that text from a published and commercially-available version
                   28    of Behind You is included in the dataset commonly known as Books3. As Meta lacks knowledge
COOLEY LLP
ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    as to whether that text is also included in the deposit copy for this work, Meta denies this RFA.
                    2    REQUEST FOR ADMISSION NO. 83:
                    3           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Beneath a
                    4    Meth Moon.
                    5    RESPONSE TO REQUEST FOR ADMISSION NO. 83:
                    6           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    7    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    8    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    9    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   10    commonly known as Books3.
                   11           Meta lacks information sufficient to admit or deny that Beneath a Meth Moon, which is the
                   12    subject of Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in
                   13    the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                   14    copy for Beneath a Meth Moon submitted to the U.S. Copyright Office, which delimits what is
                   15    covered by the corresponding copyright registration. Meta admits that text from a published and
                   16    commercially-available version of Beneath a Meth Moon is included in the dataset commonly
                   17    known as Books3. As Meta lacks knowledge as to whether that text is also included in the deposit
                   18    copy for this work, Meta denies this RFA.
                   19    REQUEST FOR ADMISSION NO. 84:
                   20           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Brown Girl
                   21    Dreaming.
                   22    RESPONSE TO REQUEST FOR ADMISSION NO. 84:
                   23           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   24    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   25    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   26    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   27    commonly known as Books3.
                   28           Meta lacks information sufficient to admit or deny that Brown Girl Dreaming, which is the
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                    1    subject of Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in
                    2    the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                    3    copy for Brown Girl Dreaming submitted to the U.S. Copyright Office, which delimits what is
                    4    covered by the corresponding copyright registration. Meta admits that text from a published and
                    5    commercially-available version of Brown Girl Dreaming is included in the dataset commonly
                    6    known as Books3. As Meta lacks knowledge as to whether that text is also included in the deposit
                    7    copy for this work, Meta denies this RFA.
                    8    REQUEST FOR ADMISSION NO. 85:
                    9           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Feathers.
                   10    RESPONSE TO REQUEST FOR ADMISSION NO. 85:
                   11           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   12    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   13    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   14    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   15    commonly known as Books3.
                   16           Meta lacks information sufficient to admit or deny that Feathers, which is the subject of
                   17    Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in the Books3
                   18    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for
                   19    Feathers submitted to the U.S. Copyright Office, which delimits what is covered by the
                   20    corresponding copyright registration. Meta admits that text from a published and commercially-
                   21    available version of Feathers is included in the dataset commonly known as Books3. As Meta
                   22    lacks knowledge as to whether that text is also included in the deposit copy for this work, Meta
                   23    denies this RFA.
                   24    REQUEST FOR ADMISSION NO. 86:
                   25           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Harbor Me.
                   26    RESPONSE TO REQUEST FOR ADMISSION NO. 86:
                   27           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   28    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    2    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    3    commonly known as Books3.
                    4              Meta lacks information sufficient to admit or deny that Harbor Me, which is the subject of
                    5    Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in the Books3
                    6    dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy for Harbor
                    7    Me submitted to the U.S. Copyright Office, which delimits what is covered by the corresponding
                    8    copyright registration. Meta admits that text from a published and commercially-available version
                    9    of Harbor Me is included in the dataset commonly known as Books3. As Meta lacks knowledge
                   10    as to whether that text is also included in the deposit copy for this work, Meta denies this RFA.
                   11    REQUEST FOR ADMISSION NO. 87:
                   12              Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work If You Come
                   13    Softly.
                   14    RESPONSE TO REQUEST FOR ADMISSION NO. 87:
                   15              Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   16    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   17    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   18    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   19    commonly known as Books3.
                   20              Meta lacks information sufficient to admit or deny that If You Come Softly, which is the
                   21    subject of Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in
                   22    the Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit
                   23    copy for If You Come Softly submitted to the U.S. Copyright Office, which delimits what is covered
                   24    by the corresponding copyright registration. Meta admits that text from a published and
                   25    commercially-available version of If You Come Softly is included in the dataset commonly known
                   26    as Books3. As Meta lacks knowledge as to whether that text is also included in the deposit copy
                   27    for this work, Meta denies this RFA.
                   28
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                    1    REQUEST FOR ADMISSION NO. 88:
                    2            Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Miracle’s
                    3    Boys.
                    4    RESPONSE TO REQUEST FOR ADMISSION NO. 88:
                    5            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                    6    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                    7    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                    8    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                    9    commonly known as Books3.
                   10            Meta lacks information sufficient to admit or deny that Miracle’s Boys, which is the subject
                   11    of Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in the
                   12    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                   13    for Miracle’s Boys submitted to the U.S. Copyright Office, which delimits what is covered by the
                   14    corresponding copyright registration. Meta admits that text from a published and commercially-
                   15    available version of Miracle’s Boys is included in the dataset commonly known as Books3. As
                   16    Meta lacks knowledge as to whether that text is also included in the deposit copy for this work,
                   17    Meta denies this RFA.
                   18    REQUEST FOR ADMISSION NO. 89:
                   19            Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Red at the
                   20    Bone.
                   21    RESPONSE TO REQUEST FOR ADMISSION NO. 89:
                   22            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   23    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   24    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   25    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   26    commonly known as Books3.
                   27            Meta lacks information sufficient to admit or deny that Red at the Bone, which is the subject
                   28    of Plaintiff Woodson’s claim and allegedly subject to copyright protection, is contained in the
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                    1    Books3 dataset because Meta does not possess, and Plaintiffs failed to produce, the deposit copy
                    2    for Red at the Bone submitted to the U.S. Copyright Office, which delimits what is covered by the
                    3    corresponding copyright registration. Meta admits that text from a published and commercially-
                    4    available version of Red at the Bone is included in the dataset commonly known as Books3. As
                    5    Meta lacks knowledge as to whether that text is also included in the deposit copy for this work,
                    6    Meta denies this RFA.
                    7
                         Dated: November 8, 2024                              COOLEY LLP
                    8

                    9                                                    By: /s/Judd Lauter
                                                                              Bobby Ghajar
                   10                                                         Mark Weinstein
                                                                              Kathleen Hartnett
                   11                                                         Judd Lauter
                                                                              Liz Stameshkin
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COOLEY LLP
ATTORNEYS AT LAW                                                                                  META’S OBJ & RESPS TO
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                    1                                          PROOF OF SERVICE
                    2           I am a citizen of the United States and a resident of the State of California. I am

                    3    employed in Santa Clara County, State of California, in the office of a member of the bar of this

                    4    Court, at whose direction the service was made. I am over the age of eighteen years, and not a

                    5    party to the within action. My business address is Cooley LLP, 3175 Hanover Street, Palo Alto,

                    6    California 94304-1130. On the date set forth below I served the documents described below in

                    7    the manner described below:

                    8          DEFENDANT META PLATFORMS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                                FIRST SET OF REQUESTS FOR ADMISSIONS
                    9
                                        (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                   10                  practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.
                   12    on the following part(ies) in this action:

                   13    Service list on next page.
                   14           Executed on November 8, 2024, at Palo Alto, California.
                   15
                                                                          /s/ Jocelyn McIntosh
                   16                                                     Jocelyn McIntosh
                   17

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COOLEY LLP                                                                                                 PROOF OF SERVICE
ATTORNEYS AT LAW
                                                                      1                                    3:23-CV-03417-VC
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                                                                  2                           PLTF’S FIRST SET OF RFA’S
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                   12    and Representative Plaintiffs and the Proposed
                         Class                                                Attorneys for Plaintiff Christopher Farnsworth
                   13                                                         and Representative Plaintiffs and the Proposed
                                                                              Class
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COOLEY LLP                                                                                                 PROOF OF SERVICE
ATTORNEYS AT LAW
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                   17                               UNITED STATES DISTRICT COURT

                   18                            NORTHERN DISTRICT OF CALIFORNIA

                   19                                       SAN FRANCISCO DIVISION

                   20    RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC

                   21    Individual and Representative
                                                                        DEFENDANT META PLATFORMS, INC.’S
                   22                         Plaintiffs,               OBJECTIONS AND RESPONSES TO
                                                                        PLAINTIFFS’ SECOND SET OF REQUESTS
                   23           v.                                      FOR ADMISSIONS

                   24    META PLATFORMS, INC., a Delaware
                         corporation;
                   25
                                              Defendant.
                   26

                   27

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COOLEY LLP
ATTORNEYS AT LAW                                                                             META’S OBJ & RESPS TO
                                                                                         PLTF’S SECOND SET OF RFA’S
                                                                                                   3:23-CV-03417-VC
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                    1    PROPOUNDING PARTY:             PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                        GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                                   DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                                                        RACHEL LOUISE SNYDER, JACQUELINE WOODSON, LYSA
                    3                                   TERKEURST, AND CHRISTOPHER FARNSWORTH

                    4    RESPONDING PARTY:              DEFENDANT META PLATFORMS, INC.

                    5    SET NUMBER:                    SECOND

                    6           Pursuant to Rule 36 of the Federal Rules of Civil Procedure (“Rules”), Defendant Meta
                    7    Platforms, Inc. (“Meta”) responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,
                    8    Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,
                    9    Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, Lysa TerKeurst, and
                   10    Christopher Farnsworth’s Second Set of Requests for Admissions (“Requests”).
                   11    I.     OBJECTIONS AND RESPONSES TO ALL REQUESTS
                   12           1.      Meta’s responses to the Requests are made to the best of Meta’s present knowledge,
                   13    information, and belief. Said responses are at all times subject to such additional or different
                   14    information that discovery or further investigation may disclose, and Meta reserves the right to
                   15    amend, revise, correct, supplement, or clarify the responses and objections propounded herein.
                   16           2.      To the extent a Request seeks information that Meta deems to embody material that
                   17    is private, business confidential, proprietary, trade secret, or otherwise protected from disclosure
                   18    pursuant to Rule 26(c) and/or Federal Rule of Evidence 501, Meta will only provide such
                   19    information subject to, and in accordance with, the parties’ stipulated protective order (ECF No.
                   20    90, the “Protective Order”).
                   21           3.      The provision of a response to any of these Requests does not constitute a waiver of
                   22    any objection regarding the use of said response in these proceedings. Meta reserves all objections
                   23    or other questions as to the competency, relevance, materiality, privilege or admissibility as
                   24    evidence in any subsequent proceeding in or trial of this or any other action for any purpose
                   25    whatsoever of this response and any document or thing produced in response to the Requests.
                   26           4.      Meta objects to Plaintiffs’ Requests insofar as the numbering of the Requests
                   27    overlaps with the numbering of Plaintiffs’ First Set of Requests for Admissions. To avoid
                   28
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
                                                                   1                            PLTF’S SECOND SET OF RFA’S
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                    1    confusion, Meta has numbered its responses consecutively based on Plaintiffs’ First Set of Requests

                    2    for Admissions, beginning with “Request for Admission No. 90.”

                    3           5.      Meta reserves the right to object on any ground at any time to such other or

                    4    supplemental requests for admission that Plaintiffs may propound involving or relating to the

                    5    subject matter of these Requests.

                    6    II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

                    7           Whether or not separately set forth in response to each Request, Meta makes these

                    8    objections to the following Instructions and Definitions.

                    9           1.      Meta objects to the definition of “You,” “Your,” and “Meta Platforms” as

                   10    overbroad, unduly burdensome, and disproportionate to the needs of the case to the extent that it

                   11    purports to require Meta to produce documents outside of its possession, custody, or control. Meta

                   12    construes “Meta” or “You” to mean Meta Platforms, Inc.

                   13           2.      Meta objects to Instruction 1 as vague and ambiguous as to “Plaintiffs’ Second Set

                   14    of Requests for Production of Documents,” as Plaintiffs also served “Plaintiffs’ Corrected Second

                   15    Set of Requests for Production” on the same day, March 20, 2024. Meta further objects to

                   16    Instruction 1 to the extent that the instructions set forth in Plaintiffs’ Second Set of Requests for

                   17    Production of Documents are inapplicable to responding to requests for admission. To the extent

                   18    those instructions are applicable to responding to the Requests, Meta incorporates its Objections to

                   19    Instructions and Definitions set forth in its Objections and Responses to Plaintiffs’ Corrected

                   20    Second Set of Requests for Production of Documents.

                   21           3.      Meta objects to Instruction 2 as overbroad and unduly burdensome to the extent that

                   22    it purports to require more of Meta than any obligation imposed by law. Meta also objects to this

                   23    instruction on the ground that it improperly demands narrative responses, which are the proper

                   24    subject not of requests for admissions but of interrogatories, and thereby seeks to circumvent the

                   25    interrogatory limit.

                   26           4.      Meta objects to Instruction No. 5 as vague, ambiguous, and unintelligible. Meta

                   27    will answer the Requests as provided under Rule 36(a)(4).

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ATTORNEYS AT LAW                                                                                     META’S OBJ & RESPS TO
                                                                    2                            PLTF’S SECOND SET OF RFA’S
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                    1           5.      Meta objects to Instruction Nos. 8 and 9 as overbroad and unduly burdensome to the

                    2    extent that they purport to require more of Meta than any obligation imposed by law.

                    3           6.      Meta objects to Instruction 10 as overbroad and unduly burdensome to the extent

                    4    that it purports to require more of Meta than any obligation imposed by law. Meta also objects to

                    5    this instruction on the ground that it improperly demands narrative responses, which are the proper

                    6    subject not of requests for admissions but of interrogatories, and thereby seeks to circumvent the

                    7    interrogatory limit.

                    8    III.   OBJECTIONS AND RESPONSES TO INDIVIDUAL DOCUMENT REQUESTS

                    9    REQUEST FOR ADMISSION NO. 90:

                   10           Admit that Blood Oath by Christopher Farnsworth was included in a dataset used to train

                   11    Your large language models.

                   12    RESPONSE TO REQUEST FOR ADMISSION NO. 90:

                   13           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   14    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   15    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   16    the needs of the case to the extent that it purports to include large language models (“LLMs”) that

                   17    were not publicly released and/or were not trained on corpuses of text that allegedly include any of

                   18    Plaintiffs’ allegedly copyrighted works. Meta construes the term “large language models” to mean

                   19    the models within the Llama family of LLMs that have been or are being developed by Meta,

                   20    namely, Llama 1, Llama 2, Code Llama, Llama 3, and Llama 4.

                   21           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   22    lacks information sufficient to admit or deny that Blood Oath, which is the subject of Plaintiff

                   23    Farnsworth’s claim and allegedly subject to copyright protection, is contained in a dataset used to

                   24    train Meta’s large language models because Plaintiff Farnsworth has not produced, and Meta does

                   25    not possess, the deposit copy for Blood Oath submitted to the U.S. Copyright Office, which delimits

                   26    what is covered by the corresponding copyright registration. Meta admits that text from a published

                   27    and commercially-available version of Blood Oath is included in a dataset used to train Meta’s

                   28    large language models, as that term is construed above. As Meta lacks knowledge as to whether
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ATTORNEYS AT LAW                                                                                    META’S OBJ & RESPS TO
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                    1    that text (or all of that text) is also included in the deposit copy for this work, Meta denies this RFA.

                    2    REQUEST FOR ADMISSION NO. 91:

                    3            Admit that The President’s Vampire by Christopher Farnsworth was included in a dataset

                    4    used to train Your large language models.

                    5    RESPONSE TO REQUEST FOR ADMISSION NO. 91:

                    6            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    7    applicable to this Request. Meta further objects to the term “large language models” as vague,

                    8    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                    9    the needs of the case to the extent that it purports to include large language models that were not

                   10    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   11    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   12    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   13    1, Llama 2, Code Llama, Llama 3, and Llama 4.

                   14            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   15    lacks information sufficient to admit or deny that The President’s Vampire, which is the subject of

                   16    Plaintiff Farnsworth’s claim and allegedly subject to copyright protection, is contained in a dataset

                   17    used to train Meta’s large language models because Plaintiff Farnsworth has not produced, and

                   18    Meta does not possess, Meta does not possess the deposit copy for The President’s Vampire

                   19    submitted to the U.S. Copyright Office, which delimits what is covered by the corresponding

                   20    copyright registration. Meta admits that text from a published and commercially-available version

                   21    of The President’s Vampire is included in a dataset used to train Meta’s large language models, as

                   22    that term is construed above. As Meta lacks knowledge as to whether that text (or all of that text)

                   23    is also included in the deposit copy for this work, Meta denies this RFA.

                   24    REQUEST FOR ADMISSION NO. 92:

                   25            Admit that Red, White, and Blood by Christopher Farnsworth was included in a dataset used

                   26    to train Your large language models.

                   27    RESPONSE TO REQUEST FOR ADMISSION NO. 92:

                   28            Meta incorporates by reference its Objections to Instructions and Definitions, which are
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ATTORNEYS AT LAW                                                                                        META’S OBJ & RESPS TO
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                    1    applicable to this Request. Meta further objects to the term “large language models” as vague,

                    2    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                    3    the needs of the case to the extent that it purports to include large language models that were not

                    4    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                    5    allegedly copyrighted works. Meta construes “large language models” to mean the models within

                    6    the Llama family of LLMs that have been or are being developed by Meta, namely, Llama 1, Llama

                    7    2, Code Llama, Llama 3, and Llama 4. Meta further objects to this Request on the ground that the

                    8    referenced work, Red, White, and Blood, is not alleged to be at issue in this action.

                    9    REQUEST FOR ADMISSION NO. 93:

                   10            Admit that The Burning Men: A Nathaniel Cade Story by Christopher Farnsworth was

                   11    included in a dataset used to train Your large language models.

                   12    RESPONSE TO REQUEST FOR ADMISSION NO. 93:

                   13            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   14    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   15    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   16    the needs of the case to the extent that it purports to include large language models that were not

                   17    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   18    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   19    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   20    1, Llama 2, Code Llama, Llama 3, and Llama 4. Meta further objects to this Request on the ground

                   21    that the referenced work, The Burning Men: A Nathaniel Cade Story is not alleged to be at issue in

                   22    this action.

                   23    REQUEST FOR ADMISSION NO. 94:

                   24            Admit that The Eternal World by Christopher Farnsworth was included in a dataset used to

                   25    train Your large language models.

                   26    RESPONSE TO REQUEST FOR ADMISSION NO. 94:

                   27            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   28    applicable to this Request. Meta further objects to the term “large language models” as vague,
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ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    1    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                    2    the needs of the case to the extent that it purports to include large language models that were not

                    3    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                    4    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                    5    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                    6    1, Llama 2, Code Llama, Llama 3, and Llama 4.

                    7           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    8    lacks information sufficient to admit or deny that The Eternal World, which is the subject of

                    9    Plaintiff Farnsworth’s claim and allegedly subject to copyright protection, is contained in a dataset

                   10    used to train Meta’s large language models because Plaintiff Farnsworth has not produced, and

                   11    Meta does not possess, the deposit copy for The Eternal World submitted to the U.S. Copyright

                   12    Office, which delimits what is covered by the corresponding copyright registration. Meta admits

                   13    that text from a published and commercially-available version of The Eternal World is included in

                   14    a dataset used to train Meta’s large language models, as that term is construed above. As Meta

                   15    lacks knowledge as to whether that text (or all of that text) is also included in the deposit copy for

                   16    this work, Meta denies this RFA.

                   17    REQUEST FOR ADMISSION NO. 95:

                   18           Admit that Killfile by Christopher Farnsworth was included in a dataset used to train Your

                   19    large language models.

                   20    RESPONSE TO REQUEST FOR ADMISSION NO. 95:

                   21           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   22    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   23    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   24    the needs of the case to the extent that it purports to include large language models that were not

                   25    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   26    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   27    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   28
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ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    1    1, Llama 2, Code Llama, Llama 3, and Llama 4. Meta further objects to this Request on the ground

                    2    that the referenced work, Killfile, is not alleged to be at issue in this action.

                    3    REQUEST FOR ADMISSION NO. 96:

                    4            Admit that Flashmob by Christopher Farnsworth was included in a dataset used to train

                    5    Your large language models.

                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 96:

                    7            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    8    applicable to this Request. Meta further objects to the term “large language models” as vague,

                    9    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   10    the needs of the case to the extent that it purports to include large language models that were not

                   11    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   12    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   13    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   14    1, Llama 2, Code Llama, Llama 3, and Llama 4.

                   15            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   16    lacks information sufficient to admit or deny that Flashmob, which is the subject of Plaintiff

                   17    Farnsworth’s claim and allegedly subject to copyright protection, is contained in a dataset used to

                   18    train Meta’s large language models because Plaintiff Farnsworth has not produced, and Meta does

                   19    not possess, the deposit copy for Flashmob submitted to the U.S. Copyright Office, which delimits

                   20    what is covered by the corresponding copyright registration. Meta admits that text from a published

                   21    and commercially-available version of Flashmob is included in a dataset used to train Meta’s large

                   22    language models, as that term is construed above. As Meta lacks knowledge as to whether that text

                   23    (or all of that text) is also included in the deposit copy for this work, Meta denies this RFA.

                   24    REQUEST FOR ADMISSION NO. 97:

                   25            Admit that Deep State: A Nathaniel Cade Story by Christopher Farnsworth was included in

                   26    a dataset used to train Your large language models.

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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 97:

                    2              Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    3    applicable to this Request. Meta further objects to the term “large language models” as vague,

                    4    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                    5    the needs of the case to the extent that it purports to include large language models that were not

                    6    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                    7    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                    8    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                    9    1, Llama 2, Code Llama, Llama 3, and Llama 4. Meta further objects to this Request on the ground

                   10    that the referenced work, Deep State: A Nathaniel Cade Story, is not alleged to be at issue in this

                   11    action.

                   12    REQUEST FOR ADMISSION NO. 98:

                   13              Admit that you used books sourced from Books3 to train one or more of your large language

                   14    models.

                   15    RESPONSE TO REQUEST FOR ADMISSION NO. 98:

                   16              Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   17    applicable to this Request. Meta objects to this Request and vague, ambiguous, and unintelligible,

                   18    as written. It is not clear to Meta what it means to use “books sourced from Books3.” Meta further

                   19    objects to the term “large language models” as vague, ambiguous, and undefined, as well as

                   20    overbroad, and unduly burdensome, and disproportionate to the needs of the case to the extent that

                   21    it purports to include large language models that were not publicly released and/or were not trained

                   22    on corpuses of text that allegedly include any of Plaintiffs’ allegedly copyrighted works. Meta

                   23    construes the term “large language models” to mean the models within the Llama family of LLMs

                   24    that have been or are being developed by Meta, namely, Llama 1, Llama 2, Code Llama, Llama 3,

                   25    and Llama 4.

                   26              Subject to and without waiving the foregoing objections, Meta responds as follows: As

                   27    written, Meta does not understand this Request and, on that basis, denies the Request. Meta is

                   28    willing to meet and confer to understand how to interpret this Request.
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ATTORNEYS AT LAW                                                                                       META’S OBJ & RESPS TO
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                    2
                         Dated: November 18, 2024                        COOLEY LLP
                    3

                    4                                                By: /s/Judd Lauter
                                                                         Bobby Ghajar
                    5                                                    Mark Weinstein
                                                                         Kathleen Hartnett
                    6                                                    Teresa Michaud
                                                                         Judd Lauter
                    7                                                    Liz Stameshkin
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COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S OBJ & RESPS TO
                                                              9                         PLTF’S SECOND SET OF RFA’S
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                    1                                           PROOF OF SERVICE

                    2           I am a citizen of the United States and a resident of the State of California. I am

                    3    employed in Los Angeles County, State of California, in the office of a member of the bar of this

                    4    Court, at whose direction the service was made. I am over the age of eighteen years, and not a

                    5    party to the within action. My business address is Cooley LLP, 355 South Grand Avenue, Suite

                    6    900, Los Angeles, CA 90071. On the date set forth below I served the documents described

                    7    below in the manner described below:

                    8          DEFENDANT META PLATFORMS, INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                                SECOND SET OF REQUESTS FOR ADMISSIONS
                    9
                                        (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                   10                  practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.

                   12    on the following part(ies) in this action:

                   13    Service list on next page.

                   14           Executed on November 18, 2024, at Los Angele, California.

                   15
                                                                          /s/Jerry Gonzalez
                   16                                                     Jerry Gonzalez
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COOLEY LLP                                                                                                 PROOF OF SERVICE
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                    1                                             SERVICE LIST

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                                                                         Attorneys for Plaintiff Lysa TerKeurst
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ATTORNEYS AT LAW                                                                                META’S OBJ & RESPS TO
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                   12    and Representative Plaintiffs and the Proposed
                         Class                                                Attorneys for Plaintiff Christopher Farnsworth
                   13                                                         and Representative Plaintiffs and the Proposed
                                                                              Class
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COOLEY LLP                                                                                                 PROOF OF SERVICE
ATTORNEYS AT LAW
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